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Date @:, BEACH POLICE DEPARTMEN Page:
Time Incident Report Program:
Case No : (Continued)
"Entered By.: iy aa
on

 

a 8 I received several phone calls throughout the day
from who stated he had been followed aggressively by a private

investigator. BBB stated that as he drove to and from work and
running errands throughout the county, the same vehicle was behind him
running other vehicles off the road in an attempt not to lose sight of

's vehicle.

 
 

I explained to him as Mr. Epstein had retained new legal council it
was possible it would be new private investigators following him to

observe his daily activities. I also explained to him that there was
a_meeting scheduled with I ccc:
a: scheduled on

of the

Mmm I attempted to call to inform
however ;

 
 
   

 
 
 
  
 
 
  

   
 
 

 

    
 

private investigators following|

 

BR, «= received other phone calls from J and EBB who

advised they were able to acquire the private investigators license
plate information. The subject following them was again driving very
aggressively and caused MIto run off the road. = stated

the vehicle is a green Chevy bearing Florida tag [xg
The vehicle is registered to of HMM Florida.
Me is employed with Investigations from BEM, Florida.
a

is a licensed Private Investigator in the State of Florida.

    
 

 

 

 

Since the discovery of the threat made against one of the victims in
this case BBN, I requested subpoenas for all calls made to and
received from a during the month of March 2006 for her
cell — and home phone. I had confirmed_with Florida State

  

  
 

the exact dates of Spring Break QJ.. The Spring Break
was from March 4, 2006 through March 12, 2006. I received a subpoena
from with all calls made during the month of ‘
I reviewed the 989 calls made and received during the month of March

2006. I observed on HR, 2006, BBM made and received thirty
five calls during that day. 4

 

Date Time Seconds In/Out To/From

MMMMMM-0c #i1:03 aM 492 Outbound (xy
MMMM 06 11:16 am 6 Inbound a

MMM-06 11:22 am 887.2 Inbound a
MM -06 11:37 ams. 48 Outbound a

MM 06 11:39 am 28.2 Inbound a

WMMMMM-06 12:02 PM 727.2 Inbound ae

The table reflects the date of the calls, time of day (EST), duration

 
 

 

@:;, BEACH POLICE DEPARTMEN Page:
Incident Report Program:
NO. « x (Continued)

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of call in seconds, inbound or outbound calls and calls made to or
from —MMphone. on QR, 2006, at 11:03 am, MM made a call
to the victim JJ which lasted 492 seconds (8 minutes and 2 seconds) .
The victim then returned the call at 11:16 am which lasted 6 seconds.
The victim then made contact with Ret 11:22 am for 877.2 seconds
(14 minutes and 6 seconds). These sequences of calls were consistent
with what the victim had described to me on the date of the
intimidation. Immediately after speaking with the victim, Jf makes
a call to MM, Gpstein's assistant, which lasts for
forty-eight seconds. A call is then immediately received, a telephone
number registered to a Corporation affiliated with Jeffrey Epstein
located at 457 Madison Ave in New York. An extensive computer check
revealed 457 Madison Ave is a business address in which Epstein has
his corporations assigned to. Epstein had corporation attorney,
a register the businesses and register himself as an
agent. I also observed Epstein has his El Zorro Ranch Corporation,
New York Strategy Group, Ghislaine Corporation, J Epstein and Company
and the Financial Strategy Group registered to this same address.
Finally, a third call is received by at 12:02 pm from the same
corporate number which lasts 12 minutes and 1 second. It should be
noted that there is no further contact with either the victim during
the month of of 2006. TI also noted that there was no
further contact with or Jeffrey Epstein during the
remainder of the month of 2006.

On MB, «2006,

meeting that occurred with Att

 

 

    
   
 
    

telephoned me to inform me of the
reference

   

Inv Continues.

 
